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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                          Plaintiffs,
          v.
                                                     Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                          Defendants.



       DEFENDANTS’ REPLY IN SUPPORT OF NOTICE OF COMPLIANCE
     WITH PRELIMINARY INJUNCTION AND REQUEST FOR A STAY OF ALL
                          CASE DEADLINES

       On March 24, 2025, Plaintiffs filed the instant action seeking the “return [of] Plaintiff

Abrego Garcia to the United States.” ECF 1 at 21. Following a hearing on April 4, 2025, this Court

ordered Defendants to “facilitate … the return of Plaintiff Kilmar Armando Abrego Garcia to the

United States[.]” ECF 21 at 2. Since that time, Defendants made diligent efforts to pull down

domestic barriers preventing Abrego Garcia from entering our country. Defendants also engaged

in appropriate diplomatic discussions with the Salvadoran government to facilitate Abrego

Garcia’s release and return to the United States. Defendants told this Court and Plaintiffs that the

diplomatic efforts would take time and were not certain to succeed.

       Now, as has been widely reported, Defendants have done exactly what Plaintiffs asked for

and what this Court ordered them to do: Plaintiff Abrego Garcia has been returned to the United

States. Because of this “significant change in circumstances,” the preliminary injunction should

be dissolved. Stone v. Trump, 400 F.Supp.3d 317, 332 (D. Md. 2019) (dissolving a preliminary

injunction due to a “significant change … in factual conditions”). Defendants intend to file a


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motion to dismiss on mootness grounds by June 16, 2025. See Otter Point Dev. Corp. v. U.S. Army

Corps. Of Eng’rs, 116 F.Supp.2d 648, 651 (D. Md. 2000) (dismissing case as moot because “the

critical issues in this case have been resolved” and the defendant agency “ha[d] already acceded

to [the requested] relief”). All case deadlines should be stayed until Defendants’ motion to dismiss

on mootness grounds can be resolved, particularly where, as here, doing so would: “streamline

litigation by dispensing with needless discovery and factfinding” on resolved (or now moot) issues,

Blankenship v. Trump, 2020 WL 748874, at *2 (S.D.W. Va. Feb. 13, 2020); the motion to dismiss

is case-dispositive; the case is at an early, pre-answer, stage of proceedings; interests of judicial

economy favor avoiding fruitless expenditure of resources for discovery of mooted issues;

continued expedited discovery imposes a severe hardship on Defendants; and staying proceedings

does not prejudice Plaintiffs, who will have an opportunity to seek full discovery of non-mooted

issues. See id. (granting stay of discovery pending motion to dismiss).

       Plaintiffs’ response to this development is desperate and disappointing. In the face of

Abrego Garcia’s return to the United States, they baselessly accuse Defendants of “foot-dragging”

and “intentionally disregard[ing] this Court’s and the Supreme Court’s orders,” ECF 186 at 2, 3,

when just the opposite is true. Plaintiffs also argue that post-compliance discovery into

Defendants’ full compliance with the preliminary injunction is still appropriate. See id. at 3.

Perhaps knowing that there is no legal basis for their accusations and arguments, Plaintiffs try to

stoke this Court’s anger against Defendants. See id. at 2 (mischaracterizing Executive Branch

statements related to this case). To be sure, the parties have had pointed disagreements on

discovery issues, including because Defendants could not share state secrets and other protected

materials that would have demonstrated their good faith compliance with the Court’s orders. But

the proof is in the pudding—Defendants have returned Abrego Garcia to the United States just as



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they were ordered to do. None of Plaintiffs’ hyperbolic arguments change that or justify further

proceedings in this matter.

       Defendants respectfully request an immediate stay of all case deadlines to give them

sufficient time to formally move to dismiss Plaintiffs’ Complaint because it is now moot.


 Dated: June 10, 2025                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on June 10, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


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